                                         Entered on Docket
                                         July 29, 2020
                                         EDWARD J. EMMONS, CLERK
                                         U.S. BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF CALIFORNIA




                                       The following constitutes the order of the Court.
                                       Signed: July 28, 2020




                                        ______________________________________________
                                        Roger L. Efremsky
                                        U.S. Bankruptcy Judge




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          /s/ Jason B. Komorsky




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 1                                          COURT SERVICE LIST

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 3   All parties are set to receive electronic notices.

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                       Order on Motion for Relief from Automatic Stay, to the Extent Applicable
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